      Case 19-20120-GLT                        Doc 104         Filed 04/01/24 Entered 04/01/24 10:20:42                        Desc Main
     Fill in this information to identify the case:           Document Page 1 of 5
     Debtor 1              PASCAL R. PASSAGA


     Debtor 2              COLLEEN M. PASSAGA
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Western District of Pennsylvania
                                                                                    (State)
     Case Number:          19-20120GLT




Form 4100N
Notice of Final Cure Payment                                                                                                          10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                  PNC BANK NA                                                                      2

 Last 4 digits of any number you use to identify the debtor's account                         4   2   2   4

 Property Address:                             1291 WEST LAUREL CL
                                               MOUNT PLEASANT PA 15666




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                           Amount

 a. Allowed prepetition arrearage:                                                                                   (a)   $          37.15

     b. Prepetition arrearage paid by the trustee :                                                                  (b)   $          37.15

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):              (c)   $           0.00

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)               (d)   $           0.00
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                              (e)   $           0.00

 f.       Postpetition arrearage paid by the trustee :                                                             + (f)   $           0.00

     g. Total. Add lines b, d, and f.                                                                                (g)   $          37.15



 Part 3:             Postpetition Mortgage Payment

 Check one

         Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                  $        $950.36
         The next postpetition payment is due on                 4 / 1 / 2024
                                                                MM / DD / YYYY

 ! Mortgage is paid directly by the debtor(s).


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Debtor 1     PASCAL R. PASSAGA                                                Case number (if known) 19-20120GLT
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              "/s/ Ronda J. Winnecour
                    Signature
                                                                                 Date     04/01/2024


 Trustee            Ronda J. Winnecour

 Address            CHAPTER 13 TRUSTEE WD PA
                    600 GRANT STREET
                    SUITE 3250 US STEEL TWR
                    PITTSBURGH, PA 15219

 Contact phone      (412) 471-5566                                Email   cmecf@chapter13trusteewdpa.com




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Debtor 1     PASCAL R. PASSAGA                                         Case number (if known) 19-20120GLT
             Name




                                             Disbursement History

Date         Check #    Name                                 Posting Type                                         Amount
MORTGAGE ARR. (Part 2 (b))
05/26/2020 1161096      PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                         15.64
01/25/2021 1185617      PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                         21.51
                                                                                                                   37.15

MORTGAGE REGULAR PAYMENT (Part 3)
04/26/2019   1116629    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                       2,946.93
05/24/2019   1120018    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                       1,085.45
06/25/2019   1123436    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                       1,059.40
07/29/2019   1126873    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                         848.63
08/27/2019   1130357    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                         848.63
09/24/2019   1133620    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                         848.63
10/24/2019   1136996    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                         848.63
11/25/2019   1140453    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                         848.63
12/23/2019   1143846    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                         848.63
01/28/2020   1147307    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                         848.63
02/25/2020   1150832    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                         848.63
03/23/2020   1154315    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                         848.63
04/27/2020   1157761    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                         992.23
05/26/2020   1161096    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                         877.35
06/26/2020   1164258    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                         877.35
07/29/2020   1167351    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                         877.35
08/25/2020   1170429    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                         877.35
09/28/2020   1173531    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                         877.35
10/26/2020   1176618    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                         877.35
11/24/2020   1179687    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                         877.35
12/21/2020   1182626    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                         877.35
01/25/2021   1185617    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                         877.35
02/22/2021   1188739    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                         877.35
03/26/2021   1192048    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                         903.23
04/26/2021   1195283    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                         864.41
05/25/2021   1198394    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                         864.41
06/25/2021   1201581    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                         864.41
07/26/2021   1204782    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                         864.41
08/26/2021   1207930    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                         864.41
09/24/2021   1211030    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                         864.41
10/25/2021   1214106    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                         864.41
11/22/2021   1217142    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                         864.41
12/23/2021   1220217    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                         864.41
02/23/2022   1226152    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                       1,640.23
03/25/2022   1229124    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                         860.76
04/26/2022   1232162    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                         860.76
05/25/2022   1235205    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                         860.76
06/27/2022   1238228    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                         860.76
07/26/2022   1241164    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                         860.76
08/24/2022   1244047    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                         860.76
09/27/2022   1246929    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                          42.47
10/25/2022   1249730    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                       1,681.84
11/23/2022   1252523    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                         861.69
12/22/2022   1255264    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                         861.69
01/26/2023   1257996    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                          42.45
02/23/2023   1260586    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                       1,603.83
04/25/2023   1266181    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                       1,748.23
05/25/2023   1269051    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                       1,445.96
06/26/2023   1271940    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                         950.36
07/25/2023   1274684    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                         950.36
08/25/2023   1277466    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                         950.36
09/26/2023   1280197    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                         950.36
10/25/2023   1282907    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                         217.49
11/27/2023   1285585    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                       1,501.55
12/21/2023   1288159    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                       1,132.04
01/26/2024   1290855    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                         310.17
02/26/2024   1293499    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                       1,405.58
03/26/2024   1296150    PNC BANK NA                          AMOUNTS DISBURSED TO CREDITOR                          20.87

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Debtor 1     PASCAL R. PASSAGA                                         Case number (if known) 19-20120GLT
             Name




                                             Disbursement History

Date         Check #    Name                                 Posting Type                                         Amount
                                                                                                                54,660.19




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                                          CERTIFICATE OF
                                          Document       SERVICE
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I hereby certify that on the date shown below, I served a true and correct copy of Notice of Final Cure Payment
upon the following, by regular United States mail, postage prepaid, addressed as follows:

PASCAL R. PASSAGA
COLLEEN M. PASSAGA
1291 WEST LAUREL CIRCLE
MOUNT PLEASANT, PA 15666

ABAGALE E STEIDL ESQ
STEIDL & STEINBERG
GULF TOWER - 28TH FL
707 GRANT ST
PITTSBURGH, PA 15219

PNC BANK NA
3232 NEWMARK DR
MIAMISBURG, OH 45342

KML LAW GROUP PC** (FRMRLY BRIAN C. NICHOLAS ESQ )
C/O DENISE CARLON ESQ
701 MARKET ST STE 5000
PHILADELPHIA, PA 19106




4/1/24                                                         /s/ Roberta Saunier
                                                               Administrative Assistant
                                                               Office of the Chapter 13 Trustee




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